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n eundersignedhereby acknowledgesreceiptofexhibitts)listedbelow forthefollowingreasonts):
EZIGuns,jewelry,currency,drugs,explosives
        Item Nos.

(Z1Oversized records(largerthan 10''x 12''x 15'')
        Item Nos.                        .                        .

Z Stored by RecordsSection in:            o M iam i u Ft.Lauderdale u W estPalm Beach
           Item Nos.

E1Other(Explain): A ïï z '
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Z Attachm ents                                SIGNATURE:          7
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            (Deputy Clerk)                              -? ?3.-




ORIGW A L-COO File
cc: RecordsSection
    CoA oom Deputy
    Counselof Record
